Dear Chief Thompson:
Your request for an Attorney General opinion has been forwarded to me for research and reply. You asked the following questions:
1) Do levee police have the authority to enforce all state laws, in particular Louisiana Highway Regulatory Laws, anywhere in their district whether on levee or off?
2) Are levee police actually State Police officers in their jurisdiction?
3) Does their commission grant levee police authority to investigate all matters relating to their jurisdiction statewide?
4) Do these officers have powers to go anywhere in the state to make arrests or question suspects on a particular crime?
5) Do levee police have the right to carry concealed firearms during the course of their duty?
In response to your first question, La. R.S. 38:326 provides the levee districts with the authority for hiring police officers and requires that these officers be commissioned as peace officers by the Department of Public Safety and Corrections. Levee police are provided general police powers, including the power of arrest, in their entire district which includes not only the levee but also the area for drainage around the levee. As peace officers, they have both the authority and the duty to enforce all the laws of the state including the Louisiana highway regulatory laws.
In response to your second question, the levee police are commissioned as peace officers by the Department of Public Safety and Corrections and possess law enforcement powers, in their jurisdictions, equivalent to those of a state police officer.
However, the State police are a distinct group established by La. R.S. 40:1371 and enjoy state-wide powers. Therefore, although the levee police possess the equivalent authority while within the boundaries of their levee district, they are not in fact state police officers.
In response to your third and fourth questions, the levee police do not possess state-wide investigatory or arrest powers for matters arising in their jurisdiction. The levee police can enforce all state laws but enforcement power is limited to their own jurisdictions pursuant to La. R.S. 38:326. La. R.S. 38:326
states: "These peace officers have the right to exercise the power of arrest as peace officers, according to law, within the area of their jurisdiction as provided herein." It further provides: "Any person arrested by a levee district or levee and drainage district police officer in the exercise of his powers shall be immediately transferred by such officer to the custody of the sheriff or city police within whose jurisdiction the arrest occurs." Because of their limited jurisdiction, levee police should involve local authorities in order to make an arrest or to conduct questioning outside of their levee district., An exception, however, may be made in a situation of hot pursuit.
In response to your final question, the levee police, as commissioned peace officers, have the authority to carry concealed weapons while on duty pursuant to La. R.S. 14:95 (G) which provides an exception to the prohibition against carrying concealed weapons for "persons vested with police power when in the actual discharge of their official duties."
I hope that this opinion has adequately answered your questions. If our office can be of further assistance to you please do not hesitate to contact us.
Sincerely,
Richard P. Ieyoub Attorney General
Donald W. North Assistant Attorney General